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 4
                               UNITED STATES DISTRICT COURT
 5
                             NORTHERN DISTRICT OF CALIFORNIA
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 8   UNITED STATES OF AMERICA,              ) CASE NO. CR 20-00249 RS
                                            )
 9          Plaintiff,                      ) ADMITTED EXHIBITS
                                            )
10     v.                                   )
                                            )
11   ROWLAND MARCUS ANDRADE,                )
                                            )
12          Defendant.                      )
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